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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS EARPLUG                       Case No. 3:19md2885
 PRODUCTS LIABILITY LITIGATION
                                                     Judge M. Casey Rodgers
 This Document Relates to All Cases                  Magistrate Judge Gary R. Jones


                                  REFERRAL AND ORDER
 Referred to Judge Rodgers on: July 27, 2022
 Motion/Pleading: Ex Parte Motion and Incorporated Memorandum to Issue a Temporary
                    Restraining Order to Enjoin 3M from Taking Any Action Outside the
                    MDL to Enjoin the Parties from Pursuing CAEv2 Litigation Against 3M
 Filed by: Plaintiffs                              on 7/27/2022         Doc. # 3332
 RESPONSES:
                                                   on                   Doc. #

                                                  JESSICA J. LYUBLANOVITS
                                                  CLERK OF COURT

                                                  /s/Donna Bajzik
                                                  Deputy Clerk: Donna Bajzik

                                            ORDER
       In light of the urgency of the above motion, Defendant 3M Company is directed to file its

response, if any, by this afternoon, July 27, 2022, at 1 p.m. Central. The response must be limited

to 10 pages.

       SO ORDERED, this 27th of July, 2022.


                                      M. Casey Rodgers
                                      M. CASEY RODGERS
                                      UNITED STATES DISTRICT JUDGE
